Case 1:13-cr-00253-TJK Document 161 Filed 11/03/14 Page 1of5

UNITED STATES DISTRICT COURT
Middle District of North Carolina
324 W. Market Street, Suite 401
Greensboro, North Carolina 27401

John S. Brubaker, Clerk October 31, 2014 TELEPHONE:
(336) 336-6000

Clerk, U.S. District Court OR \4- 2A3-RW R

District of Columbia

E. Barrett Prettyman US Courthouse F I L E D

333 Constitution Avenue, N.W., Room 1225
Washington, DC 20001 NOV -3 2014

Re: USA v. RODNEY CLASS cle. J S District & Bankruptcy
: . ' Het
MDNC Case No. 1:14M/211 ourts for the District of Columbla

Enclosed are certified copies of the following pleadings for the defendant in the above-
entitled case for disposition in your District:

l. Financial Affidavit (Sealed);
2. Waiver of Rule 5 and 5.1 Hearings;
3. Commitment to Another District; and
4. Docket Sheet.
Please acknowledge receipt of these papers on the enclosed copy of this letter.
Sincerely,

JOHN S. BRUBAKER, CLERK

By:  /s/ Jamie L. Sheets
Deputy Clerk

JSB/jls
enclosures

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CLOSED

U.S. District Court
North Carolina Middle District (NCMD)
CRIMINAL DOCKET FOR CASE #: 1:14-mj-00211-JEP All Defendants
Internal Use Only

CR 13-253-RWR

Case title: USA v. CLASS Date Filed: 10/28/2014
Other court case number: CR 13-253 District of Columbia Date Terminated: 10/31/2014

Assigned to: MAG/JUDGE JOI
ELIZABETH PEAKE

Defendant (1)

RODNEY CLASS
TERMINATED. 10/31/2014

Pending Counts Disposition

None

Highest Offense Level (Opening)

None

Terminated Counts Disposition .

None A True Copy on

Highest Offense Level (Terminated) Yin S. Cicbaker, Clerk

None By: [| .
ore AS

Complaints Disposition / Cemny Clock :

Arrest Rule 5

Plaintiff

USA represented by RANDALL STUART GALYON

U.S. ATTORNEY'S OFFICE
101 S. EDGEWORTH ST., 4TH
FLOOR

GREENSBORO, NC 27401
336-333-5351

Email: randall.galyon@usdoj.gov
TERMINATED: 10/31/2014

https://ecf.nemd.circ4.den/cgi-bin/DktRpt.p1?476927063340627-L_1_0-1 10/31/2014
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ATTORNEY TO BE NOTICED
Designation: United States Attorney

Date Filed # Docket Text

10/29/2014 Arrest (Rule 5) of RODNEY CLASS (Garrett, Kim) (Entered:
10/29/2014)

10/29/2014 Minute Entry for proceedings held before MAG/JUDGE JOI

ELIZABETH PEAKE:INITIAL APPEARANCE IN RULE 5
PROCEEDINGS as to RODNEY CLASS held on 10/29/2014. AUSA
Randall Galyon. Defendant advised of rights and charges. Defendant
waived hearings in the MDNC and will be transported in custody to
the District of Columbia for further proceedings. Proceedings
recorded. (Garrett, Kim) (Entered: 10/29/2014)

10/29/2014 Oral Motion Re: Detention by USA as to RODNEY CLASS. (Garrett,
Kim) (Entered: 10/29/2014)
10/29/2014 @ @

SEALED FINANCIAL AFFIDAVIT by RODNEY CLASS (Garrett,
10/29/2014

|——

Kim) (Entered: 10/29/2014)

WAIVER of Rule 5(c)(3) Hearing by RODNEY CLASS (Garrett,
Kim) (Entered: 10/29/2014)

COMMITMENT TO ANOTHER DISTRICT as to RODNEY
CLASS. Defendant committed to District of District of Columbia.
Signed by MAG/JUDGE JOI ELIZABETH PEAKE on 10/29/14.
(Garrett, Kim) (Entered: 10/29/2014)

Letter to Clerk, District of COLUMBIA re: Rule 5 Documents sent as
to RODNEY CLASS. (Sheets, Jamie) (Entered: 10/31/2014)

10/31/2014 (Court only) Attorney RANDALL STUART GALYON terminated.
Set CLOSED Flag and terminated defendant RODNEY CLASS,
pending deadlines, and motions. (Sheets, Jamie) (Entered:
10/31/2014)

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10/29/2014

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10/31/2014

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https://ecf.ncmd.cire4.den/cgi-bin/DktRpt.p1?476927063340627-L_1_0-1 10/31/2014
Case 1:13-cr-00253-TJK Document 161 Filed 11/03/14 Page 4 of 5

AO 466A (Rev. 01/09) Warver of Rule 5 & 5.1 Hearings (Complaint or Indictment)

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

og Trt OFFICE
Cre a U.S. Distact Gout
United States of America ) (GeeersboO,
v. Case No. 1:14MJ211-1
)
_ / RODNEY CLASS _ ) Charging District’s Case No. CR 13-253
Defendant )

CR13-253-RWR

WAIVER OF RULE 5 & 5.1 HEARINGS
(Complaint or Indictment)

[ understand that I have been charged in another district, the (name of other cout) Districtof Columbia

T have been informed of the charges and of my rights to:

(1) retain counsel or request the assignment of counsel if | am unable to retain counsel;

(2) an identity hearing to determine whether I am the person named in the charges,

3) production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

(4) a preliminary hearing within 10 days of my first appearance if I am in custody and 20 days otherwise —
unless I am indicted —- to determine whether there is probable cause to believe that an offense has
been committed;

(5) a hearing on any motion by the government for detention;

(6) request transfer of the proceedings to this district under Fed. R. Crim, P. 20, to plead guilty.

| agree to waive my right(s) to:

OG an identity hearing and production of the warrant.
a preliminary hearing,
a detention hearing.

oO

go

a an identity hearing, production of the warrant, and any preliminary or detention hearing to which | may
be entitled in this district. | request that those hearings be held in the prosecuting district, at a time set
by that court.

I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.

Date: October 29, 2014 Sy i) 7! Gad oA ADO) pale Cc JQSSF
Defendant’s signature
ao. ones NT

Signature of defendant's attorney

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Eo oa. 10. OL

ro ae 3, DIUTAIOUy Cig Printed name of defendant's attorney
By: AM if Aly D , Deputy Clerk
Case 1:14-mi-00211-JEP Document 2 Filed 10/29/14 Paae1of1

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AO 94 (Rev. 06/09) Commitment to Another District

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

FILED

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United States of America ) © OSS SRESE
y. ) Grecrsdory, Ne
)  CaseNo. 1:14MJ211-1
)
RODNEY CLASS ) Charging District’s
Defendant ) Case No. CR 13-253
CRIS -253- KW
COMMITMENT TO ANOTHER DISTRICT K K
The defendant has been ordered to appear in the _ Districtof | Columbia,

(if applicable) _ division. The defendant may need an interpreter for this language:

The defendant; © will retain an attorney.

CJ is requesting court-appointed counsel.

The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the
United States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may
be promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

Date: October 29, 2014 Ce

Judge’ s signature

_ Joi Elizabeth Peake, U.S. Magistrate Judge
Printed name and title

Case 1:14-mi-00211-JEP Document 3 Filed 10/29/14 Paaeiof1
